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                                                       1    Patrick G. Byrne, Esq.
                                                            Nevada Bar No. 7636
                                                       2    Richard C. Gordon, Esq.
                                                            Nevada Bar No. 9036
                                                       3    Paul Swenson Prior, Esq.
                                                            Nevada Bar No. 9324
                                                       4    Christian P. Ogata, Esq.
                                                            Nevada Bar No. 15612
                                                       5    SNELL & WILMER L.L.P.
                                                            3883 Howard Hughes Parkway, Suite 1100
                                                       6    Las Vegas, NV 89169
                                                            Telephone: (702) 784-5200
                                                       7    Facsimile: (702) 784-5252
                                                            Email: pbyrne@swlaw.com
                                                       8            rgordon@swlaw.com
                                                                    sprior@swlaw.com
                                                       9           cogata@swlaw.com
                                                      10    Attorneys for Defendant City of Henderson
                                                      11                                 UNITED STATES DISTRICT COURT
                                                      12                                        DISTRICT OF NEVADA
             3883 Howard Hughes Parkway, Suite 1100
Snell & Wilmer




                                                      13    LaTesha Watson,
                    Las Vegas, Nev ada 89169
                         LAW OFFICES


                          702.784 .5200




                                                      14                           Plaintiff                         Case No.: 2:20-cv-01761-CDS-CLB
                               L.L.P.




                                                      15           v.                                             Order Granting Stipulation Extending the
                                                                                                                  Briefing Schedule for Motions Relating to
                                                      16    City of Henderson, et al.,                                 the Second Amended Complaint
                                                      17                           Defendants                                 (Second Request)
                                                      18

                                                      19

                                                      20          Defendants City of Henderson, Kevin Abernathy, and plaintiff LaTesha Watson

                                                      21   (collectively the “Parties”) stipulate to extend time for the briefing schedule for motions relating

                                                      22   to Plaintiff’s Second Amended Complaint as follows:

                                                      23          1.      In granting summary judgment and dismissing Watson’s claims, this Court granted

                                                      24   Watson limited leave to amend and permitted the parties to set the briefing schedule for motions

                                                      25   related to the second amended complaint, should Watson file one.

                                                      26          2.      Watson filed her second amended complaint on May 9 and the parties set a briefing

                                                      27   schedule for any motions to be due on June 17.

                                                      28          3.      The parties request an additional four days to complete and file any motions.

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                                                       1           4.      The parties have agreed to the modification of the briefing schedule requested and

                                                       2   this request is not made for the purpose of delay.

                                                       3           Thus, the Parties respectfully request that motions in response to Plaintiff’s second amened

                                                       4   complaint be due June 21, 2024.

                                                       5

                                                       6           IT IS SO STIPULATED.

                                                       7   DATED this 14th day of June, 2024.                   DATED this day 14th of June, 2024.
                                                       8   COOK & KELESIS, LTD.                                 SNELL & WILMER, LLP
                                                       9    /s/ Julie Sanpei                                     /s/ Christian Ogata
                                                           Marc P. Cook, (NV Bar No. 4574)                      Patrick G. Byrne (NV Bar No. 7636)
                                                      10   Julie L. Sanpei (NV Bar No. 5479)                    Richard C. Gordon (NV Bar No. 9036)
                                                           517 S. 9th Street                                    Paul Swenson Prior (NV Bar No. 9324)
                                                      11   Las Vegas, Nevada 89101                              Christian P. Ogata (NV Bar No. 15612) 3883
                                                           Phone: (702) 737-7702                                Howard Hughes Parkway, Suite 1100
                                                      12   Fax: (702) 737-7712                                  Las Vegas, Nevada 89169
             3883 Howard Hughes Parkway, Suite 1100




                                                                                                                Phone: (702) 784-5200
Snell & Wilmer




                                                      13   Attorneys for Plaintiff Latesha Watson               Fax: (702) 784-5252
                    Las Vegas, Nev ada 89169
                         LAW OFFICES


                          702.784 .5200




                                                      14                                                        Attorneys for Defendant City of Henderson
                               L.L.P.




                                                      15   DATED this 14th day of June, 2024.
                                                      16   CLARK HILL PLLC
                                                      17
                                                           /s/ Nicholas Wieczorek
                                                      18   Nicholas M. Wieczorek, Esq.
                                                           Gia N. Marino, Esq.
                                                      19   1700 Pavilion Center Drive, Suite 500
                                                           Las Vegas, Nevada 89135
                                                      20
                                                           Attorneys for Defendant Kevin Abernathy
                                                      21
                                                                                                         ORDER
                                                      22
                                                                  Good cause appearing, IT IS THEREFORE ORDERED that the Parties’ stipulation is
                                                      23
                                                           GRANTED. Motions in response to Watson’s second amended complaint shall be due June 21,
                                                      24
                                                           2024, with responses due 30 days after filing, and replies due 14 days after responses are filed.
                                                      25
                                                           IT IS SO ORDERED.
                                                      26
                                                                  DATED: June 14, 2024
                                                      27
                                                                                                         _______________________________________
                                                      28                                                  UNITED STATES MAGISTRATE JUDGE


                                                                                                            -2-
